Case 19-24841

 

Doc 1

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

District of Maryland

[
}
|
|
i Case number (if known):
i
i
|
i

Official Form 101

 

 

Chapter 7
QO Chapter 14
OQ) Chapter 12
QO Chapter 13

8377-40) ayte'4

Voluntary Petition for Individuals Filing for Bankruptcy

Chapter you are filing under:

 

Filed 11/05/19 Page 1 of 60

 

|
|
|

amended filing

12/15

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and

Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Identify Yourself

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Dewey

First name First name

Monroe

Middle name Middle name

Chisholm

Last name Last name

 

Suffix (Sr., Jr., 1, Hl)

Suffix (Sr., Jr., If, IH)

 

2. All other names you

 

 

 

 

 

 

 

 

(ITIN)

Official Form 101

have used in the last 8 First name Firstname
years
Include your married or Middle name Middie name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
| your Social Security wx -x-_9 0 7 9 OC OE
number or federal OR OR
Individual Taxpayer 9
Identification number XX XK 9xx - x -

Voluntary Petition for individuals Filing for Bankruptcy

 

i rete

 

page 1
 

 

 

 

Case 19-24841 Doc1 Filed 11/05/19 Page 2 of 60
Debtor 4 Dewey Monroe Chisholm Case number (if known)
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

(4 t have not used any business names or EINs.

CJ | have not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

EIN”

EN

 

6. Where you live

 

 

817 Loalan Ave
Number Street

If Debtor 2 lives at a different address:

Number Street

 

 

 

Baltimore MD 21222

City State ZIP Code City State ZIP Code
Baltimore County

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

Number Street

 

 

 

P. O. Box 5129
P.O. Box P.O. Box
| Baltimore MD 21224
City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

 

4 Over the last 180 days before filing this petition,
! have lived in this district longer than in any
other district.

Q] | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

CL} Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Q) 1 have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 

 

 
Debtor 1

Dewey _ Monroe Chisholm Case number (irknown)

First Name Middle Name

 

Case 19-24841 Doc1 Filed 11/05/19 Page 3 of 60

 

Last Name

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010). Aiso, go to the top of page 1 and check the appropriate box.
are choosing to file
under i Chapter 7
OQ Chapter 11
L) Chapter 12
C) Chapter 13
8. How you will pay the fee (2 | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
CJ | need to pay the fee in instaliments. if you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).
() | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for MW No
bankruptcy within the _
last 8 years? Ol Yes. bistrict When aT DDT WY Case number
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy bd No
cases pending or being a
filed by a spouse who is Ql Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM/DD/YYYY
11. Do you rent your LI No. Goto line 12.
residence? fl Yes. Has your landiord obtained an eviction judgment against you and do you want to stay in your

Official Form 101

residence?

A No. Go to line 12.

() Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 4 of 60

Debtor 1 Dewey Monroe Chisholm Case number (known)

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor (No. Go to Part 4.
of any full- or part-time
business? () Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

ration, ership,
re ation, partn P, or Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q None of the above

 

 

 

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business 2"Y of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?

CI No. | am not filing under Chapter 11.
For a definition of small 9 P
business debtor, see J No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
14 U.S.C. § 101(51D). the Bankruptcy Code.

Cl Yes. 1am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do youownorhave any (no
roperty that poses or is

eileged to pose a threat () Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own

périshable goods, or livestock
that must be fed, or a building

 

 

if immediate attention is needed, why is it needed?

 

 

 

 

 

that needs urgent repairs?
Where is the property?
Number Street
City State ZIP Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 5 of 60

Dewey _ Monroe Chisholm

First Name Middle Name Last Name

Debtor 1 Case number (# known),

ea Explain Your Efforts to Receive a Briefing About Credit Counseling

 

16. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will tose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

0d t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

() I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

CD | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(3 1 am not required to receive a briefing about
credit counseling because of:

a Incapacity. {| have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(} Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C} Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

 

 

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

CJ | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cl | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Oi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cd 1am not required to receive a briefing about
credit counseling because of:

Q) Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

() Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

(J Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5
Case 19-24841

Debtor 4

First Name Middle Name

eo Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

Dewey Monroe

Doc 1

Chisholm

Last Name

 

Filed 11/05/19 Page 6 of 60

Case number (it known),

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
W Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CL] No. Go to line 16¢.
LI Yes. Go to fine 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

CI No. tam not filing under Chapter 7. Go to line 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and WI No
administrative expenses
are paid that funds will be O Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo J 1-49 (2 1,000-5,000 CI 25,001-50,000
you estimate that you Q) 50-99 Q 5,001-10,000 () 50,001-100,000
owe? (J 100-199 LJ 10,001-25,000 ( More than 100,000
CI 200-999
13. How much do you WI $0-$50,000 Q) $1,000,001-$10 million ( $500,000,001-$1 billion

estimate your assets to
be worth?

CJ $50,001-$100,000
Cl $100,001-$500,000
LJ $500,001-$1 miltion

W) $10,000,004-$50 million
CJ $50,000,001-$100 million
C) $100,000,001-$500 million

C) $1,000,000,001-$10 billion
() $10,000,000,001-$50 billion
CJ More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Ls] 6 a Ad

Sign Below

For you

J $0-$50,000

() $50,001-$100,000
Cl) $100,001-$500,000
(2 $500,001-$1 million

LJ $1,000,001-$10 million

Q) $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

U3 $500,000,001-$1 billion

C) $1,000,000,001-$10 biltion
(2 $10,000,000,001-$50 biliion
CJ More than $50 billion

| have examined this petition, and | declare under penaity of perjury that the information provided is true and

correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

i understand making a faise statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Dewy chdala x

Signature of Debtor}

Executed on 0 -

MM / DD /YYYY

 

Signature of Debtor 2

Executed on
MM / DD

1YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

 

 

page 6

 
Debtor 1 Dewey Monn oe Chisholm Case number (if known),

First Name Middle Name

 

 

Case 19-24841 Doc1 Filed 11/05/19 Page 7 of 60

Last Name

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

Official Form 104

The law ailows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has fong-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the locai rules of the court in which your case is filed. You must also
be familiar with any state exemption jaws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

fd No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

UL No
Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
CJ No

4 Yes. Name of Person Valli Lampkin .
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause "\ y rights or property if | do not properly handle the case.

    

 

 

 

 

 

XK \ewy x
Signature of Debtor } Signature of Debtor 2
~ 3G
Date l O eS . G\ \ Date _
MM/DD /YYYY MM/ DD /YYYY

Contact phone (667) 228-7250 Contact phone

Cell phone Cell phone

Email address junior441@yahoo.com Email address

 

 

  

Voluntary Petition for Individuals Filing for Bankruptcy page 8
 

Case 19-24841 Doc1 Filed 11/05/19 Page 8 of 60

Fill in this information to identify your case:

 

Debtor 1 Dewey Monroe Chisholm
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of Maryland

  

CQ) Check if this is an
amended filing

Case number
(if known)

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

 

 

 

 

 

Your assets
Vaiue of what you own
Pa. Schedule A/B: Property (Official Form 106A/B) 0.00
ta. Copy line 55, Total real estate, from Schedule A/B........ccccccccesccssssssssssessesesssusessustsssusesvsssctssusssssvestusessiuvecsuscesesscesseccsesecces s___
1b. Copy line 62, Total personal property, from SCHEdUHe A/B........cc.ccccccccccssesssssssecsssssssssssssesssssssssssibessssicspsestseeseeseccessseccces, $ 9,279.00
ic, Copy line 63, Total of all property On Schedule A/B .......ccccscccccsescssstesssssecsssesssressssuessstusesssesssssssesisesssessesiesesteeectieeseeeeeccc. $ 9,279.00
Summarize Your Liabilities
Your liabilities
: Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 11,262.00 :
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $e aoa '
_ 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 4919.17
| 3a. Copy the total claims from Part 1 (priority unsecured Claims) from line 6e of Schedule E/F oo... .ccccstesecssecssesecseseesees $__Sviv if

Teen at renee eran eran enon eeenenanseas + $ 26,505.52

 

 

 

 

 

 

Your total liabilities $__ 42,686.69
Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061) 2400.00
_ Copy your combined monthly income from line 12 of SCHECUIE I....cccccccssssuscsssscsssssssssssssssesssusssseseepssesteeecebeeeeeeeceo $__ a
_ 5. Schedule J: Your Expenses (Official Form 1064)
Copy your monthly expenses from line 22c of Schedule J o.....c.ccccscscccsssssssssscsssssesssscesssssesssssusssesssusesssissessssecsestececceseeceesceee $ __ 2,745.00

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 9 of 60

Debtor 4 Dewey Monroe Chisholm Case number (i mown)
First Name Middle Name Last Name

 

Ey Answer These Questions for Administrative and Statistical Records

 

| 6. Are you filing for bankruptcy under Chapters 7, 11, or 137

OI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
i Yes

 

 

. 7. What kind of debt do you have?

| Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.

CD Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 2,400.00

 

 

 

 

; 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) ss 4, 919.17
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) s_———i. 00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) a
8f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + 0.00
9g. Total. Add lines 9a through 9f. $ 4,919.17

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 10 of 60

Fillin this information to identify your case and this filing:

Debto1 Dewey Monroe Chisholm

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number

 

C) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 42115

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

a No. Go to Part 2.
LJ Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
Cl) Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

14. + anit byusiledj Creditors Who Have Claims Secured by Property.
Street address, if available, or other description 5 Duplex or mutt unit building
Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
O tana $ $
CJ investment property
- CQ) Timeshare Describe the nature of your ownership
City State ZIP Code Q oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
Cl Debtor 1 only

County C) Debtor 2 only

(Q Debtor 1 and Debtor 2 only Q Check if this is community property
() At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
ud) Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

1.2. 5 init build; Creditors Who Have Claims Secured by Property.
Street address, if available, or other description a Duplex or mult unit building
C) Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
CY Lang $ $
Ql Investment property
(2) timeshare Describe the nature of your ownership
City State ZIP Code Q Interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
(2 Debtor 1 only
County CJ Debtor 2 only
(2 Debtor 1 and Debtor 2 only Ql Check if this is community property
() at least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 
 

What is the property? Check ail that apply.

Case 19-24841 Doc 1
Debtor 1 Dewey Monroe Chisholm
First Name Middie Name Last Name
13. (2 Single-family home

 

Street address, if available, or other description

 

 

 

LJ) Duplex or multi-unit building
(3 Condominium or cooperative

 

Case number (if known),

 

Filed 11/05/19 Page 11 of 60

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

 

? 01 u ?
) Manufactured or mobile home entire property Portion you own
C) tang § §
C) investment property
: : Describe the nature of your ownership
Cc State ZIP Cod
fy 3 ° 5 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
) Debtor 1 only
County CQ bebtor 2 only
Q] Debtor 4 and Debtor 2 only Q) Check if this is community property
LJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0.00
you have attached for Part 1. Write that number here. ......... 000.000 ceeccecccecccscecceseceaecessseccsececcesseccececeescecceeeess

ra Describe Your Vehicles

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicies
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LJ No

WA Yes

3.1. Make: Ford
Model: Expedition
Year: 2011
Approximate mileage: 120,000

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:
Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

Y Debtor 1 only

CD) Debtor 2 only

() Debtor 1 and Debtor 2 only

Oat least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CI] Debtor 4 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 7,424.00 ¢ 0.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
 

 

 

 

 

 

Who has an interest in the property? Check one.

C At least one of the debtors and another

C) Check if this is community property (see

Who has an interest in the property? Check one.

Case 19-24841 Doc 1
Debtor 4 Dewey Monroe Chisholm
First Name Middle Name Last Name
3.3. Make:
Model: (2 Debtor 4 only
Year: Q) debtor 2 only
ear C0 Debtor 4 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
3.4. Make:
Model: 2 Debtor 1 only
C) debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Cl pebtor 1 and Debtor 2 only
Chat least one of the debtors and another

(J Check if this is community property (see
instructions)

Case number (if known)

Filed 11/05/19 Page 12 of 60

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

W No
LJ Yes

4.1. Make:
Model:

Year:

CE

Other information:

 

 

 

 

If you own or have more than one, list here:

Make:
Model:
Year:

4.2.

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for ail of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

 

Who has an interest in the property? Check one.
J Debtor 1 only

CJ Debtor 2 only

) Debtor 1 and Debtor 2 only

Q) At least one of the debtors and another

(J Check If this is community property (see
instructions)

Who has an interest in the property? Check one.

CQ) Debtor 1 only

CJ Debtor 2 only

(J Debtor 4 and Debtor 2 only

() At teast one of the debtors and another

[d Check if this is community property (see
instructions)

Schedule A/B: Property

 

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

7,424.00

page 3

 

 
 

 

Doc1 Filed 11/05/19 Page 13 of 60

Case 19-24841

 

 

Debtor 1 Dewey Monroe Chisholm Case number (i mown),
First Name Middle Name Last Name
ized Describe Your Personal and Household Items

 

 

 

 

 

H f the
Do you own or have any legal or equitable interest in any of the following items? tortion yousware
Do not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
QJ No
(d Yes. Describe. ........ | 3BR, LR, DR, Kitchen $ 300.00
i
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment: computers, printers, scanners; music
collections; electronic devices inciuding cell phones, cameras, media players, games
CHNo
i Yes. Describe.......... 3 TVs, Computers $ 150.00

 

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
bd No

 

Cl Yes. Describe..........

 

§ 0.00

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, poo! tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

$ 0.00

 

 

 

 

$ 0.00

 

 

 

 

$ 150.00

 

 

No
CJ Yes. Deseribe..........
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
44 No
] Yes. Describe..........
11, Clothes
Examples: Everyday clothes, furs, teather coats, designer wear, shoes, accessories
LC) No
(2 Yes. Describe.......... Personal clothing
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
OQ No

 

Yes. Describe.......... |

13. Non-farm animals
Examples: Dogs, cats, birds, horses

(4 No

$ 50.00

 

 

CJ Yes. Describe..........

 

$ 0.00

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list
No

 

Cl Yes. Give specific
information. .............

 

$ 0.00

 

15. Add the dollar value of ail of your entries from Part 3, Including any entries for pages you have attached
for Part 3. Write that mumber Mere oo. ccesssssenssssessssssssansessccccccssosevsssssnessssevesaeeneecensaesetanmtasassssssssssnisssssnsarcsosceseceseeseeecee

Official Form 106A4/B Schedule A/B: Property

 

 

$. 50.0

 

 

page 4

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 14 of 60

Debtor? Dewey Monroe Chisholm Case number (known)
First Name Middie Name Last Name

 

 

zien Describe Your Financial Assets

 

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
(2 No
a YOS a eesccccessesssencsssssnesesscossssusussssecessnstusussesonssssinesssssssuutesieeasarsssssussesassspusvesecusscassasassaneusessessisteeeeceeeceseses CASH coccccccccccccccccccce $ 5.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts: certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

 

 

 

() No

Ves ccs tnstitution name:
17.1. Checking account: Johns Hopkins FCU $ 0.00
17.2. Checking account: $.
17.3. Savings account: Johns Hopkins FCU $ 0.00
17.4. Savings account: $

 

 

 

 

 

 

 

 

 

 

17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7, Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
u No
2 Institution or issuer name:
$

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

a No Name of entity: % of ownership:
C) Yes. Give specific 0% % $
information about 0% ene
tHEM.....0.. eccceeeee 9 %
0% %

 

Official Form 106A4/B Schedule A/B: Property page §

 

 

 
 

 

Case 19-24841 Doc1 Filed 11/05/19 Page 15 of 60

Debtor 4 Dewey Monroe Chisholm Case number (fknown)
First Name Middle Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi no

Q) Yes. Give specific fssuer name:
information about

 

 

 

 

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

@ No
Cl Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $.
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landiords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

No

4 YVOS eeceeereees Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: Landlord $ 1,200.00
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
i Issuer name and description:
S$
$

 

Official Form 106A/B Schedule A/B: Property page 6
 

Case 19-24841 Doc1 Filed 11/05/19 Page 16 of 60

Debtor 4 Dewey Monroe Chisholm Case number (if known)
First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
4 No

CD VES enema Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(0):

 

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wd No

CJ Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

W No

(J Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

W No

CJ Yes. Give specific
information about them.... $

 

 

 

 

Money or property owed to you? Current value of the

portion you own?
Do nat deduct secured
claims or exemptions.

28. Tax refunds owed to you

W No

 

C} Yes. Give specific information Federal: $ 0.00
about them, including whether ,
you already filed the returns State: $ 0.00
and the tax years... ees Local: $ 0.00

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

4 No

 

 

 

 

 

Ql Yes. Give specific information............
Alimony: $
Maintenance: $
Support: $
Divorce settiement: $
Property settlement: $

30, Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No
Cl Yes. Give specific information...............
$

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 17 of 60

Debtor 1 Dewey Monroe Chisholm Case number (it known)
First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WZ No

Cl Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a fife insurance policy, or are currently entitled to receive
property because someone has died.

4 No

QQ) Yes. Give specific information..............

t i
i

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No
C] Yes. Describe each claim. ................

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

@ No

CJ Yes. Describe each claim. ................

 

 

 

 

35. Any financial assets you did not already list

No
(J Yes. Give specific information............ ‘

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that nUMber AETE ..cssnsnmtssrtssttnntnmnneenntsinuta iiss > |s_____1,205.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
WA No. Go to Part 6.
Cd Yes. Go to line 38.

Current value of the

 

portion you own?
Do not deduct secured claims
or exemptions.
38. Accounts receivable or commissions you already earned
J No
: ;
C) Yes. Describe...... .

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

1 No
C] Yes. Deseribe.......

 

gg

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 

 
 

Doc1 Filed 11/05/19 Page 18 of 60

Case 19-24841
Chisholm

Last Name

Dewey Monroe

First Name Middle Name

Debtor 4 Case number (i known),

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

CJ No

 

LJ Yes. Describe.......

 

 

41. Inventory

CJ No

 

C) Yes. Describe.......

 

 

42. interests in partnerships or joint ventures

C) No
Cl Yes. Describe.......

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of entity: % of ownership:
Md $
% $
% $e
43. Customer lists, mailing lists, or other compilations
No
Cl Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
CI No
C) Yes. Describe........
$
44. Any business-related property you did not already list
LJ No
CI Yes. Give specific $
information .........
$
$
$
$
$
45. Add the doliar value of all of your entries from Part §, including any entries for pages you have attached $ 0.00
for Part §. Write that mumber Were ccc ccsccccccscesescescssssssunvusvesuvvsvovennscarsesesareasearsseassessesactssussepspussuusvusuutuuvvsissasssasisessesee >
ete ace Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
48. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wf No. Go to Part 7.
CQ Yes. Go to fine 47.
Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
Q) No
OD Yes occ i
$

 

 

 

Official Form 106A/B Schedule A/B: Property

 

page 9

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 19 of 60

Debtor 1 Dewey Monroe Chisholm Case number (irknown),
First Name Middle Name Last Name

 

 

48. Crops—either growing or harvested

J No

Q) Yes. Give specific
information. ............ $

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OC No
ce
$
50. Farm and fishing supplies, chemicals, and feed
QC) No
ee i |
/ $
51. Any farm- and commercial fishing-related property you did not already list
Q No
(} Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here cece cccssssesssssssssseeunsttusnunenuusntnnnssssnasnnsesarsnenanatssctssuvpusuusuuitinaaltesessssssssssesce > OO
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
u No i
() Yes. Give specific
information. ............
| $
54. Add the dollar value of all of your entries from Part 7. Write that number HELE ccccoccccecseeeceeeecceeec > |} s_____0.00
| mart 8: | List the Totals of Each Part of this Form
55. Part 1: Total real estate, te 2 osc cceccsssssssesessssceceescseesessonsossessssennnssananeeensivanssnasenssenssavrsssarssseasessagussssssesteeeeeeeessseseeeee. > § 0.00
56. Part 2: Total vehicles, line § $ 7,424.00
57. Part 3: Total personal and household items, line 15 $ 650.00
58. Part 4: Total financial assets, line 36 $ 1,205.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +5 0.00
62. Total personal property. Add lines 56 through 61. .................... $ 9,279.00 Copy personal property total » +g 9,279.00
63. Total of all property on Schedule A/B. Add line 55 + lime 62....cccccc-ccosscsesssssusssssesssssssssssesteeeseeeeeeeeee eee $ 9,279.00

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
 

Case 19-24841 Doc1 Filed 11/05/19 Page 20 of 60

Fill in this information to identify your case:

Debtor 4 Dewey Monroe Chisholm
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number CI Check if this is an
{if known) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 42115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
Specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

EE teensy the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

QD You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § §22(b)(3)
C You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the | Amount of the exemption you claim Specific laws that allow exemption

 

 

 

Schedule A/8 that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief sg: .
description:  2011Ford Expeditio $7,424.00 Ms 7,424.00 MD Cts & JP 11-504(b)(5) &
Line from OQ 100% of fair market value, up to (f)
Schedule AB: 3-1 any applicable statutory limit
Brief
description. Household Goods = 300.00 Ws 300.00 MD Cts & JP 11-504(b)(4)

Line from [) 100% of fair market value, up to

 

 

Schedule A/B: any applicable statutory limit

Brief .

description:  plectronics ss ¢ 150.00 Ws 150.00 MD Cts & JP 11-504(b)(4)
Line from C) 100% of fair market value, up to

Schedule A/B: 7 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $155,675?
(Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
wf No
C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
QO) no
QO Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

 
Debtor 1

 

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middle Name Last Name

Part 2: Additional Page

 

Case number (known)

Filed 11/05/19 Page 21 of 60

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule AB:

Brief
description:
Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B;

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Current value of the

Amount of the exemption you claim

Check only one box for each exemption

 

 

CJ 100% of fair market value, up to
any applicable statutory limit

 

 

C2 100% of fair market value, up to

 

C) 100% of fair market value, up to

 

 

C 100% of fair market value, up to

 

 

C2 100% of fair market value, up to

 

 

C) 100% of fair market value, up to

 

C2 100% of fair market value, up to

 

C} 100% of fair market value, up to

 

 

[a] 100% of fair market value, up to

 

C) 100% of fair market value, up to

 

 

CJ 100% of fair market value, up to

Portion you own
Copy the value from
Schedule A/B
Clothes $ 150.00 Ws 150.00
jt
alewelry $ 50.00 Ws 50.00
412 any applicable statutory limit
Cash $ 5.00 Ws 5.00
16 any applicable statutory limit
Security Deposit $ 1,200.00 fs 1,200.00
22
—_—— any applicable statutory limit
$ Os
——_-. any applicable statutory limit
$ Os
-_ any applicable statutory limit
eS Og
—— any applicable statutory limit
eS Qs
any applicable statutory limit
$ Lig
_— any applicable statutory limit
— SS, Os
ol any applicable statutory limit
$ Og
—_——__ any applicable statutory limit
ee S, Og

 

 

L 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

MD Cts & JP 11-504(b)(4)

 

MD Cts & JP 11-504(b)(4)

 

MD Cts & JP 11-504(b)(5)

 

MD Cts & JP 11-504(b)(5)

 

 

 

 

 

 

 

 

 

page 2_of 2.

 
 

Filed 11/05/19

Page 22 of 60

Case 19-24841 Doc 1

Fill in this information to identify your case:

Chisholm

Middle Name

Dewey Monroe
First Name

Debtor 1

 

Last Name

Debtor 2
{Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number
{If known)

 

(3 Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

 

1. Do any creditors have claims secured by your property?
(2 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

Colurnn-A | Column Bo Column C:
| 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim. Value of collateral “Unsecured |
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this portion |
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral: claim -ifanyo |
Westlake Service Inc. Describe the property that secures the claim: $. 11,262.00 $. 7,424.00 $ 3,838.00
i Creditor’s Name
4751 Wilshire Blvd. 2011 Ford Expedition EL /

Number Street

Suite 100 As of the date you file, the claim is: Check all that apply.
| C] Contingent
Los Angeles CA 90010 © unliquidated
City State ZIP Code Q disputed i
Who owes the debt? Check one. Nature of lien. Check all that apply.

Ww Debtor 1 only

[) Debtor 2 only

( Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

wf An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax fien, mechanic’s lien) \
CI Judgment tien from a lawsuit i

OQ) other (including a right to offset) i
Q Check if this claim relates to a
community debt :

Date debt was incurred Last 4 digits of account number 6 fT =a 4

 

 

 

 

 

 

 

 

 

 

 

| 2.2) Describe the property that secures the claim: $. $. $.

: Creditor’s Name

: Number Street

As of the date you file, the claim is: Check all that apply.

: C1) Contingent

OQ) unliquidated
City State ZIP Code Q Disputed i
I

Who owes the debt? Check one.
Q Debtor 1 only

Nature of lien. Check all that apply.

(an agreement you made (such as mortgage or secured

 

C] pebior 2 only
Q) Debtor 1 and Debtor 2 only
CI Atleast one of the debtors and another

Cl Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

car loan)
Q Statutory lien (such as tax lien, mechanic’s lien)
(Judgment tien from a lawsuit
(J other (including a right to offset)

 

Last 4 digits of account number ___

s——11,262.00 |

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 1__
Case 19-24841 Doc1 Filed 11/05/19 Page 23 of 60

Fill in this information to identify your case:

Debtor 4 Dewey Monroe Chisholm
First Name Middle Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

 

United States Bankruptcy Court for the: District of Maryland

() Check if this is an
(if known} amended filing

Case number

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12445

Be as complete and accurate as possibile. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
Creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. tf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRIORITY Unsecured Claims

 

: 1. Do any creditors have priority unsecured claims against you?

QI No. Go to Part 2.

Wl Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For

 

 

 

 

 

 

 

 

 

 

 

each claim listed, identify what type of claim it is. Jf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) :
Total claim’. . Priority. Nonpriority
: . amount amount :
24
Comptroller of Maryland Last 4 digits of accountnumber 9 O 7 9 % _4919178491917s O00.
Priority Creditors Name i
110 Carroll Street When was the debt incurred? 12/31/0201
Number Street . a
Revenue Administration Division As of the date you file, the claim is: Check alt that apply.
Annapolis MD 21411 (2 contingent
City Stale ZIP Code ontingen
. Q Untiquidated
Who incurred the debt? Check one. OQ disputed
“ Debtor 1 only
(2 Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only QO Domestic support obligations
Atleast one of the debtors and another a Taxes and certain other debts you owe the government :
Q) Check if this claim is for a community debt O Claims for death or personal injury while you were |
Is the claim subject to offset? intoxicated
No QC) other. Specify
C) Yes
2.2 Last 4 digits of accountnumber_ = = sg $ $

 

Priority Creditor’s Name
When was the debt incurred?

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent

City State ZIP Code Q) untiquidated

Who incurred the debt? Check one. Disputed

Q) Debtor 1 only
UJ Debtor 2 only
CJ Debtor 1 and Debtor 2 only

Type of PRIORITY unsecured claim:
Q domestic support obligations

 

CI Atleast one of the debtors and another C1 Taxes and certain other debts you owe the govemment
2 Claims for death or personal injury while yo
CI Check if this claim is for a community debt Otel anh OF Personal injury wnile you were
is the claim subject to offset? 1 other. Specify
OQ No :
Ne

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 14

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 24 of 60

Debtor 4 Dewey Monroe Chisholm Case number (ifknown)
First Name Middie Name Last Name

 

 

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

CQ) No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

_ 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

: nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- Total claim
ke] Mercy Medical Center Last 4 digits of accountnumber_ 519.46
Nonpriority Creditors Name SOU
301 St. Paul Place When was the debt incurred? 07/20/2010
Number Street
Baltimore MD 21202
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q) Contingent
Who incurred the debt? Check one. (2 unliquidated
: u Debtor 1 only Q Disputed
Q Debtor 2 only
Q) Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C2) Atieast one of the debtors and another () Student loans
(} Check if this claim is for a community debt (3 Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
A no WM other. Specity_ Judgment
Q] Yes
2 _| Bay Country Consumer Finance Last 4 digits of account number s___3,000.00
Nonpriority Creditors Name When was the debt incurred? :
6619 Ritchie Highway
Number Street
Glen Burnie MD 21061 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. CO) unliquidated
a Debtor 1 only Q Disputed
C3 Debtor 2 only
OQ debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another () Student loans
. , | U obligations arising out of a separation agreement or divorce
(2 Check if this ctaim is for a community debt that you did not report as priority claims
Is the claim subject to offset? 2 Debts to pension or profit-sharing plans, and other similar debts
@ No A other. Specity Credit
CJ Yes
3 | Teamsters Local 355 Union Hall Last 4 digits of account number :
eos ——— — $ 600.00
onprionty Greditor’s Name When was the debt incurred? |
1030 S. Dukeland Street
Number Street
Baltimore MD 21223 . _
ay Sais ZiP Gode As of the date you file, the claim is: Check all that apply.

Q Contingent
QI Unliquidated
OQ) Disputed

Who incurred the debt? Check one.

CJ Debtor 4 only
CO pebtor 2 only
CY Debior 4 and Debtor 2 onty Type of NONPRIORITY unsecured claim:

Ww At least one of the debtors and another
Cl) Student toans

(J Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
. that you did not report as priority claims
Is the claim subject to offset?
w No C) debts to pension or profit-sharing plans, and other similar debts

Other. Speci
Q) Yes A Other. Specty

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page2_ of 14

 

 
Debtor 1

 

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middie Name Last Name

 

Filed 11/05/19 Page 25 of 60

Case number (f known)

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim. 4
4.4 . . Last 4 digits of account number 8 4 O 3
Central Credit Services LLC 9 = ae $_2,285.45
Nonpriarity Creditor’s Name '
. . h the debt incurred?
20 Corporate Hills Drive When was the debt incurre
Number Street
ile, t! im is: Check ail that ly.
St. Charles MO 63301 As of the date you file, the claim is all that apply
City State ZIP Code C2) Contingent
O Untiquidated '
Who incurred the debt? Check one. Oo Disputed i
wf Debtor 1 only
C2 Debtor 2 onty Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only © student toans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
7 soe . you did not report as priority claims
k fe
O Check if this claim is for a community debt C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf other. Specity_ Credit-USA Discounters #.8142
ad No
QO Yes
4.5 i 0 4 141 7,354.64 |
OneMain Financial Last 4 digits of account number U 4 7 1) $. 04
Nonpnority Creditors Name :
When was the debt incurred?
P. O. Box 3327
Number Street
. As of the dat file, the claim is: Check all that .
Evansville IN 47732 ° © youre, the claim ts al that apply
City State ZIP Code © Contingent
QC) unliquidated
Who incurred the debt? Check one. Q Disputed
Wf Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CJ stuaent loans
i At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
‘ Qeh if this claim is f nity debt you did not report as priority claims
: eck If this claim is for a commu ity OQ) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@W other. specity. Charge Account
: OC No
: Yes
4.6] 4477 s_ 1,488.38
Bank of America Last 4 digits of account number 4 4 / 7. :
: Nonpriority Creditors Name
: When was the debt incurred?
: P. O. Box 982235
: Number Street
} As of the date file, t faim is: Check ail that .
El Paso ™ 79998 Ss Of the date you file, the claim i eck ail that apply.
City State ZIP Code Q Contingent

QO) Yes

Official Form 106E/F

Who incurred the debt? Check one.

| Debtor 1 only

Q) Debtor 2 only

C] Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

A No

(unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

OQ Student toans

Q Obligations arising out of a separation agreement or divorce that I
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

WU other. specity

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

page3_of 14

 
Debtor 1

 

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middle Name Last Name

 

Filed 11/05/19 Page 26 of 60

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

UV Debtor 1 only

C1 Debtor 2 only

O) Debtor 1 and Debtor 2 only

Cd Atleast one of the debtors and another

] Check if this claim is for a community debt
Is the claim subject to offset?

J no

Q) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
47 ; Last 4 digits of accountnumber O 5 5 9
Bloom & Associates, P.A. g =— SSeS ¢__ 400.00
Nonpriority Creditor’s Name 2
w incurred? 04/01/2019
P. O. Box 42826 hen was the debt incurre
Number Street
: ile, im is: k all .
Baltimore MD 21284 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C) Contingent
C) unliquidated
Who incurred the debt? Check one. Q Disputed
a Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O Student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
2 Check if this claim is for a community debt you did not report as priority claims
Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ Other. specify. Medical-Mercy Health Svcs LL
,f No
C) ves
4.8] | 5474
Bloom & Associates, P.A. Last 4 digits of accountnumber 9. 4 7 1. s___ 90.00.
Nonpriority Creditors Name
When the debt i a? 03/29/2015
P.O. Box 42826 ee
Number Street
. th file, the claim is: Ch II that .
Baltimore MD 21284 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C3 Contingent
C2 Untiquidatea
Who incurred the debt? Check one. a Disputed
V Debtor 1 only
Q) Debtor 2 onty Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? other. Specify Medcial-Mercy Health Svcs
| No
C) ves
[4.9] 5 160.00,
Bloom & Associates, P.A. Last 4 digits of account number 3.9 5 9
Nonpriority Creditors Name
When was the debt in d?
P.O. Box 42826 mwas the debt incurre
Number Street
Baltim ore . MD 21284 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code O contingent

( Untiquidated
O) Disputed

Type of NONPRIORITY unsecured claim:

Q Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO debts to pension or profit-sharing plans, and other similar debts

"| Other. Specify. Medical

page4_of 14

 

 
Debtor 1

 

Case 19-24841 Doc 1
Dewey —_ Monroe Chisholm
First Name Middle Name Last Name

 

Filed 11/05/19 Page 27 of 60

Case number (it own),

eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C) Yes

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

| Debtor 1 only

U] Debtor 2 only

C) Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

Q) Check if this claim is for a community debt
is the claim subject to offset?

ZF no

Q) unliquidated
O disputed

Type of NONPRIORITY unsecured claim:

2 Student loans

| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts

WU other. Specify_Insurance

 

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim
0 ig 7436 :
Comcast Last 4 digits of accountnumber /§ 4 3 0 $ 711.97 |
Nonpriority Creditor’s Name
debt i ?
8110C orporate Blvd When was the debt incurred
Number Street
: h ile, t is: Check all that apply.
Nottingham MD 21236 As of the date you file, the claim is: Check ali that apply.
City State ZIP Code O) Contingent
; O21 unliquidated
Who incurred the debt? Check one. g Disputed
Wf Debtor 1 only
QC) Debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only Q) Student loans
At least one of the debtors and another L] Obligations arising out of a separation agreement or divorce that
C] Check if this claim is for a community debt Q you did not report a8 priority claims _
Debts to pension or profit-sharing plans, and other similar debts
!s the claim subject to offset? ff otner. Specify Utility
ff No
C) Yes
“" i 2219 !
Emer Physcians SPPS Last 4 digits of account number 2) 2 1 9 ¢__ 611.00
Nonpriority Creditors Name ;
When was the debt incurred? 91/31/2018
P. O. Box 38034 TT
Number Street
: f thi ite file, the claim is: Check aii that .
Philadelphia PA 19101 As of the date you file, the claim is: all that apply.
City State ZIP Code Q Contingent
Q) unliquidated
Who incurred the debt? Check one. CQ) disputed
@ Debtor 1 only
OQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim Is for a community debt you did not report as priority claims -
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specify. Medical
a No
Cl Yes
[12] 0276 3745.37
: GEICO Last 4 digits of accountnumber O 2 7 6)
Nonpriority Creditor's Name
. When was the debt incurred? 10/10/2017
One Geico Place —_—_——
Number Street
As of th file, t laim is: Check all that .
Bethesda MD 20810 8 of the date you file, the claim is: Check all that apply
City State ZIP Code (J contingent

pageS_ of 14

 
Debtor 4

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middie Name Last Name

 

 

Filed 11/05/19 Page 28 of 60

Case number (if known),

ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

Total claim.

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

| Debtor 1 only

C Debtor 2 only

O) Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?

W no

Q) Yes

(2 unliquidated
QO) bDisputea

Type of NONPRIORITY unsecured claim:

U Student ioans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

Wi other. specity_ Medical

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

13 _ |
Johns Hoopkins Medicine Last 4 digits of account number 8 6 O 6. s__ 303.67
Nonpriority Creditors Name i

. : hi i di?
3910 Keswick Road, Suite $-5100 When was the debt incurre
Number Street
i f im is:
Baltimore MD 21214 As of the date you file, the claim is: Check all that apply |
: City State ZIP Code ) Contingent
; C) unliquidated ‘
Who incurred the debt? Check one. Q Disputed
UV Debtor 1 only
CJ Debtor 2 onty Type of NONPRIORITY unsecured claim:
! 5 Debtor 1 and Debtor 2 only © Student loans
At least one of the debtors and another | Obligations arising out of a separation agreement or divorce that ‘
C] Check if this claim is for a community debt you did not report as priority claims _
CD Debts to pension or profit-sharing plans, and other similar debts ‘
Is the claim subject to offset? W@ other. specity_ Medical :
mf No
0) Yes :
4 ; 6210
| Johns Hopkins Medicine Last 4 digits of accountnumber 6 2 1 0. $ 40.00.
Nonpriority Creditor’s Name :
. . When was the debt incurred? 92/06/2019 i
3910 Keswick Road, Suite S-5100 :
Number Street As of the date you file, the claim is: Check all that appl
Baltimore MD 21211 yous: veer an inar PP:
iy State ZIP Code () Contingent
CJ Untiquidatea
Who incurred the debt? Check one. (0 disputed
4 Debtor 1 only :
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only 2 Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :
( Check if this claim is for a community debt you did not report as priority claims - ‘
O Debts to pension or profit-sharing plans, and other similar debts j
Is the claim subject to offset? W other. specify Medical
ws No
Q) Yes
[15 s__ 489.90
Kaiser Permanente Last 4 digits of account number 3 1 0 2.
Nonpriority Creditors Name i
When was the debt incurred? :
P. O. Box 31218 :
Numbei Street :
Tampa ree FL 33631 As of the date you file, the claim is: Check all that apply. |
City State ZIP Code C] Contingent

pageS_ of 14
Debtor 1

 

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middie Name Last Name

 

Filed 11/05/19 Page 29 of 60

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

Total claim

 

 

 

 

 

 

 

 

Yes

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

| Debtor 1 only

CU] Debtor 2 only

© Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

Q Check if this claim is for a community debt

Is the claim subject to offset?

F no

 

 

O) unliquidated
C Disputed

Type of NONPRIORITY unsecured claim:

(J Student ioans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

( Debts to pension or profit-sharing plans, and other similar debts

A other. Specify. Medical

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

Aiter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.
16 i Last 4 digits of accountnumber_1 0 3 3
Kaiser Permanente 9 —- SS $__ 424.71:
: Nonpriority Creditor's Name :
i Wi debt incurred? i
P. O. Box 31218 hen was the debt incurred
Tamp a Street FL 33631 As of the date you file, the claim is: Check all that apply.
City State ZIP Cade C] Contingent '
(unliquidated i
Who incurred the debt? Check one. gO Disputed 1
V Debtor 1 only
(J Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only OQ) Student toans
At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
CO Check if this claim is for a community debt you did not report as prionty claims _
Cl Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ff other. Specity_ Medical
af No
C) ves
17 ss 6.1 :
Kaiser Permanente Last 4 digits of accountnumber $__236. o
Nonpriarity Creditor's Name 2 i
: When was the debt incurred
P. O. Box 31218
Number Street ,
: f the d file, the ciaim is: Check alt that apply.
Tampa FL 33631 As of the date you file, the ciaim i all that apply
City State ZIP Code t) Contingent
Q Unliquidated
Who incurred the debt? Check one. Q disputed
VU Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
C2 Check if this claim is for a community debt you did not report as priority claims _
OQ) bebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@ other. specity_ Medical
a No
Q) ves
[18 1257 $352.81
Mercy Medical Center Last 4 digits of account number 1 2 5) 7)
: Nonpriority Creditors Name |
' When was the debt incurred? 96/18/2018 ‘
_ P.O. Box 826986 ——————
: Number Street i
‘ . : As of the date file, the claim is: Check ail that . :
| Philadelphia PA 19182 © ote EaNe YOM INSANE Crain '8t Check all hat apply
: City State ZIP Code Q Contingent

page’ of 14

 
Debtor 1

 

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Nae Middie Name Last Name

 

Filed 11/05/19 Page 30 of 60

Case number (if mown)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

Total claim

 

 

 

 

 

 

 

 

 

QO) ves

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

U Debtor 1 only

OQ debtor 2 only

Q) Debtor 1 and Debtor 2 only

(CD Atleast one of the debtors and another

2 Check if this claim is for a community debt

is the claim subject to offset?

WZ No

19 _
Mercy Medical Center Last 4 digits of account number 8 2 2 1° 5694.39.
Nonpriority Creditor’s Name 01/31/2018

h .
P. O. Box 826986 When was the debt incurred?
wane et As of the date you file, the claim is: Check ail that appt
Philadelphia PA 19182 yourne. ° ppv.
City State ZIP Code OI Contingent
CY unliquidated
Who incurred the debt? Check one. OQ) Disputed
VA Debtor 4 onty
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only Q Student loans
At least one of the debtors and another (J Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you did not report as priority claims -
debts to pension or profit-sharing pians, and other similar debts
is the claim subject to offset? ff other. Specity_ Medical
wf No
C) ves
20 | 1234 0.00.
Alan Oshinky/lleana Showalter M.D. Last 4 digits of account number 1 2° 3 4 s___40.00
Nonpriority Creditors Name i
. When was the debt incurred? 94/02/2019
301 St. Paul Street, Suite 612 nel
Number Street
. of t file, t aim is: Check all that ly.
Baltimore MD 21202 As of the date you file, the claim is all that apply.
ay State ZIP Code Q Contingent
. Q unliquidated
Who incurred the debt? Check one. C2 bisputed
‘ Ui Debtor 4 only
: Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Q Student toans
: At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
' 2 Check if this claim is for a community debt you did not report as priority claims _.
: C] debts to pension or profit-sharing plans, and other similar debts
: is the claim subject to offset? WI other. specify. Medical
: i No
: OQ) Yes
(21 | 3987 3430.99
: Progressive Leasing Last 4 digits of account number 3 9 8 7 /
Nonpriority Creditors Name
. When was the debt incurred?
256 W. Data Drive
Number
Draper Street UT 84020 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code Q Cantingent

QO) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

O Student toans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

4 Other. Specify.

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

page 8 of 14

 
Debtor 1

Case 19-24841 Doc 1
Dewey _ Monroe Chisholm
First Name Middie Name Last Name

 

Filed 11/05/19 Page 31 of 60

Case number (i known),

 

a Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
22 i j Last 4 digits of accountnumber 3. 4 3 7
Progressive Leasing +S $_1,411.92
i Nonpriority Creditors Name :
: : Wh is the debt incurred?
256 W. Data Drive enwa bt incu
i Number Street i
i A file, Jaim is: Ch i] that apply. :
Draper UT 84020 s of the date you file, the claim is: Check a apply.
: City State ZIP Code OQ Contingent
unliquidated
Who incurred the debt? Check one. go Disputed :
Vi Debtor 1 only
CI Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only 2 student loans
At least one of the debtors and another a Obligations arising out of a separation agreement or divorce that
(2 Check if this claim is for a community debt you did not report as prionty claims
C) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specity
Ff No
: O] Yes
23 | i 9 7 8 1 145.76
| Wells Fargo Bank Last 4 digits of accountnumber Yo f 8 1 $ f0.
Nonpriority Creditor’s Name :
. When was the debt incurred? 06/19/2014
| P.O. Box 14517 oe
: Number Street
‘ ' f the date file, the claim is: Check ail that ly.
Des Moines IA 50306 As of the you file, claim is: Check ail that apply
Gy State ZIP Code QQ) Contingent
: C) Untliquidated
: Who incurred the debt? Check one. Q disputed :
| Wi Debtor 4 only
| CT Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :
C) Check if this claim is for a community debt you did not report as priority claims /
O Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? W otner. Specity_ Credit Card i
CJ No
: wf Yes
[24 | 3__817.00
: Capital One Bank Last 4 digits of accountnumber '
Nonpriority Creditor's Name
When was the debt incurred? 09/21/2018
P. O. Box 85015
Nurnber Street
. As of the date file, the claim is: Check ali that .
Richmond VA 23285 or the date youl imi all that apply
Ciy State ZIP Code ( contingent

Official Form 106E/F

Who incurred the debt? Check one.

VU Debtor 1 only

Q) debtor 2 only

( Debtor 1 and Debtor 2 only

O) Atieast one of the debtors and another

CD Check if this claim is for a community debt

\s the claim subject to offset?

w No
OQ) ves

 

 

QO) Untiquidated
O Disputed

Type of NONPRIORITY unsecured claim:

C2) student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q Debts to pension or profit-sharing plans, and other similar debts

WU other. Specity_ Credit Card

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

page9_of 14

 
Debtor 1

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middle Name Last Name

 

Filed 11/05/19 Page 32 of 60

Case number (if known)

 

 

co Your NONPRIORITY Unsecured Claims — Continuation Page

" After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

‘Total claim |

 

 

 

 

 

 

 

 

Official Form 106E/F

CT ves

 

 

 

Who incurred the debt? Check one.

UV Debtor 1 only

CO) Debtor 2 only

CI Debtor 1 and Debtor 2 only

() Atleast one of the debtors and another

C} Check if this claim is for a community debt

ts the claim subject to offset?

WZ No

QO) Untiquidated
C} Disputed

Type of NONPRIORITY unsecured claim:

CJ] Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

 bebts to pension or profit-sharing plans, and other similar debts

Ui other. specity_Medical

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

25 -
Capital One Bank Last 4 digits of accountnumber $ 139.00
Nonpriority Creditor's Name :

Whe the bt incurred? 02/02/2019 i
P.O. Box 85015 nwas the debtincurred? oa
Number Street
. f th file, th im is: Check all that .
Richmond VA 23285 As of the date you file, the claim is: C all that apply.
City State ZIP Code C Contingent
QQ) unliquidated
Who incurred the debt? Check one. © pisputea
UV Debtor 1 only
CQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only Q Student toans
At least one of the debtors and another Cy Obligations arising out of a separation agreement or divorce that j
Ql Check if this claim is for a community debt Q you did not report as priority claims . :
Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? Wf other. Specity_ Credit Card i
f No
() Yes
28 | igi 469,00
kaiser Permanente Last 4 digits ofaccountnumber_ $ 69.
: Nonpriority Creditor's Name
: When was the debt incurred?
P.O. Box 31218
: Number Street
i As of the date file, the claim is: Check ail that apply.
Tampa FL 33631 youn ° an nat apply
City State ZIP Code Q Contingent
O) Unliquidatea
Who incurred the debt? Check one. C2 Disputed
Wi Detter 4 only
Q Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only © student joans
Atleast one of the debtors and another (2 obtigations arising out of a separation agreement or divorce that
Q Check if this claim is for a community debt you did not report as priority claims 7
C debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? Wf other. specity_ Medical
wo No
: QO) Yes
[27 | s__323.00
Patient First Last 4 digits of accountnumber ;
Nonpriority Creditors Name
When was the debt incurred?
P. O. Box 758941
Number Street
. As of the dat file, the claim is: Check ali that .
Baltimore MD 21275 s of the date you file claim is all that apply.
City State ZIP Code Q Contingent

page 10 of 14.
Debtor 1

Case 19-24841 Doc 1
Dewey Monroe Chisholm
First Name Middle Name Last Name

 

 

Filed 11/05/19 Page 33 of 60

Case number (it known),

 

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Q Yes

Official Form 106E/F

 

 

 

Who incurred the debt? Check one.

V Debtor 1 only

O Debtor 2 only

Cl Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

2] Check if this claim is for a community debt

ts the claim subject to offset?

W No

 

QO) untiquidated
() Disputed

Type of NONPRIORITY unsecured claim:

(J Student oans

QQ Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
C} Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify,

 

Schedule E/F: Creditors Who Have Unsecured Claims

 

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total. claim:
28 -
Cashnet USA Last 4 digits of accountnumber $ 1,000.00.
Nonpriority Creditors Name :
: the debt i ? :
/ 175 W. Jackson Blvd, 10th Floor When was the debt incurred
: Number Street i
: ° , laim is: Check ail that apply. :
Chicago iL 60604 As of the date you file, the claim is: Check ail that apply.
: City State ZIP Code ©) contingent
: . (2 unliquidated
Who incurred the debt? Check one, Q Disputed
: i Debtor + only :
OQ debtor 2 only Type of NONPRIORITY unsecured claim: :
C] Debtor 1 and Debtor 2 only C) Student toans
U1 Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that :
. se you did not report as priority claims |
h t |
OI Check if this claim is for a community debt CJ Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? WI other. Specify Payday Loan
ww No
C) ves
29 | igi 0 0 5 3 821.00 |
City of Baltimore, Bureau of Revenue Collections Last 4 digits of account number _U_ _O 9 3 $__O21.UU
Nonpriority Creditor's Name :
. When was the debt incurred?
200 Holliday Street "
Number Street
. As of the dat file, the claim is: Check all that .
Baltimore MD 21202 S or the date you Tile, the claim is all that apply
City State ZIP Code (Contingent
; Q) unliquidated
Who incurred the debt? Check one. ©) pisputed
A Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 4 and Debtor 2 only (2 Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
Q) Check if this claim Is for a community debt you did not report as priority claims -
CJ Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? @ other. Specity_Citations
| No
Q) ves
30 400.00
: Last 4 digits of be: $
Motor Vehicle Administration ast 4 digits of account number
Nonpriority Creditors Name :
ys : When was the debt incurred? :
6601 Ritchie Highway, N.E. |
Number Street :
. As of the dat file, the claim is: Check ali that apply.
Glen Burnie MD 21061 of the date you file, the claim is: C! all that apply
Gig State ZIP Code C} Contingent

 

page 11 of 14,

 
 

Case 19-24841 Doc 1

Monroe Chisholm

Middle Name Last Name

Filed 11/05/19 Page 34 of 60

Dewey Case number (1 known)

First Name

Debtor 1

List Others to Be Notified About a Debt That You Already Listed

 

 

| & Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Bloom & Associates P.A.
Name

1220A E. Joppa Road, Suite 223

 

 

 

Number Street J Part 2: Creditors with Nonpriority Unsecured Claims
f

Towson MD 21286 Last 4 digits of account number 6

City State ZIP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.1_ of (Check one): O Part 1: Creditors with Priority Unsecured Claims

 

 

American Coradius International LLC

Name

2420 Sweet Home Rd., Suite 150

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.5 of (Check one): (] Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street af Part 2: Creditors with Nonpriority Unsecured
Claims
Amherst NY 14228 Last 4 digits of account number 4 3 1 3
City State ZiP Code
Convergent Outsourcing Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P. O. Box 9004 Line 4.5 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street (Wf Part 2: Creditors with Nonpriority Unsecured
Claims
REnton WA ___98057 Last 4 digits of account number_7 3 8 0
City State ZiP Code
Cavalry SPV I, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 Summit Lake Dr., Suite 4A Line 4.6 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Sireet (Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Valhalla NY ___10595 Last 4 digits of account number_3 1 0 5
Gity State ZIP Code
FBCS Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
330 S. Warminster Rd., Suite 353 Line 4.6 of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Hatboro PA 19040 Last 4 digits of account number 0 1 7 O
City State ZIP Code
ERC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P. O. Box 57610 Line 4.10 of (Check one): O) Part 4: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured
Claims
Jacksonville FL _-32241 Last 4 digits of accountnumber_8 0 7 2
City State ZIP Code
Southwest Credit On which entry in Part 1 or Part 2 did you list the original creditor?
4120 International parkway, Suite 1100 Line 4.10 of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims
Nambel Street
omer m 4 Part 2: Creditors with Nonpriority Unsecured
Claims
Carrollton x 75007
T. 50 Last 4 digits of account number_3 3 4 6

City State

 

ZiP Code

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page12 of 14
Case 19-24841 Doc1 Filed 11/05/19 Page 35 of 60

Debtor 1 Dewey Monroe Chisholm Case number (if known)
First Name Middie Name Last Name

List Others to Be Notified About a Debt That You Already Listed

 

. § Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ccs On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P. O. Box 607 Line 4.12 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street J Part 2: Creditors with Nonpriority Unsecured Claims
igi 5 8 2 1
Norwood MA 02062 Last 4 digits of account number 9 9 4 1
City State ZIP Code
NCC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5503 Cherokee Ave. Line 4.14 of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured
Claims
Alexandria VA 22312 Last 4 digits of accountnumber_
City State ZIP Code
USCB America On which entry in Part 1 or Part 2 did you list the original creditor?
Name
355 S. Grand Ave., Suite 3200 Line 4.17 of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured
Claims
Los Angeles CA___90071 Last 4 digits of account number_3 7 0 3
City State ZIP Code
Bloom & Associates P.A. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P. O. Box 42826 Line _4.18 of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Baltimore MD 21284 Last 4 digits of accountnumber_
City State ZIP Code
Asset Management / Nationwide On which entry in Part 1 or Part 2 did you list the original creditor?
Name
545 Inman Street Line 4.26 of (Check one): Q) Part 4: Creditors with Priority Unsecured Claims
Number Street af Part 2: Creditors with Nonpriority Unsecured
Claims
Cleveland TN 37311 Last 4 digits of account number_
City Siate ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2) Part 1: Creditors with Priority Unsecured Claims
Number Street ] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_—
City State ZIP Code
Naas On which entry in Part 4 or Part 2 did you list the original creditor?
Line of (Check one): CU) Part 1: Creditors with Priority Unsecured Claims
Number Street
CJ Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Gode Last 4 digits of accountnumber—

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 13 of 14

 

 
 

 

Case 19-24841 Doc1 Filed 11/05/19 Page 36 of 60

Debtor 4 Dewey Monroe Chisholm Case number (itknown)__
First Name Middle Name Last Name

eae Add the Amounts for Each Type of Unsecured Claim

'.6, Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $ 0.00
from Part 4 6b. Taxes and certain other debts you owe the
government 6b. 4,919.17
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
6e. Total. Add lines 6a through 6d. 6e.
9 5 4,919.17
Total claim
- Total claims 6f. Student loans 6f. $ 0.00
_fromPart2 6, Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
claims 6g. $ :
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. g 0.00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. ts 26,505.52
6j. Total. Add fines 6f through 6i. 6j. 5 26,505.52

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 14 of 14
 

 

Case 19-24841 Doc1 Filed 11/05/19 Page 37 of 60

Fill in this information to identify your case:

Debtor Dewey Monroe Chisholm

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number

(lf known) LJ Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
(I No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
| Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or lease is for
21" One Stop Property Management Tenant Lease
: Name

 

Number Street

 

City State ZIP Code

 

 

_ T-Mobile Cell phone

Name

 

 

Number Street

 

City _ State __ZIP Gode

2.3

 

Name

 

Number Street

 

‘enseanpa eh | State ZIP Code
24

 

Name

 

Number Street

 

__Gity State ZIP Code
25

' Name

 

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of1_
 

Case 19-24841 Doc1 Filed 11/05/19 Page 38 of 60

Fill in this information to identify your case:

Debtor 4 Dewey Monroe Chisholm

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court for the: District of Maryland

Case number

 

 

 

(if known) (J Check if this is an
amended filing
Official Form 106H
Schedule H: Your Codebtors 12115

 

Codebtors are peopie or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

_ 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Wd No
CI Yes
: 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
wf No. Go to line 3.
C] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
Q] No

lal Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person Is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Cofumn 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
QO) Schedule D, line
Name
C] Schedule E/F, line
Number Street C) Schedule G, tine
IY urinate SGI Code .
3.2
C) Schedule D, line
Name
QO) Schedule E/F, line
Number Street C] Schedule G, line
Mee ten neem inna SMO Pode seve sora prs nnn er
3.3
Q) Schedule D, line
Name ae
C) Schedule E/F, line
Number Street O) Schedule G, line
oY nme anni wnniniinie want eIP Code
Official Form 106H Schedule H: Your Codebtors page 1 of 1_

 

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 39 of 60

Fill in this information to identify your case:

Debtor 4 Dewey Monroe Chisholm

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number Check if this is:
(if known)
() An amended filing

Qa supplement showing postpetition chapter 13
income as of the foliowing date:

 

 

 

Official Form 1061 wT DDT YW
Schedule I: Your Income 4125

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Caw Describe Employment

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

If you have more than one job,
attach a separate page with
information about additional Employment status LJ Employed QQ Employed

employers. Not employed Q) Not employed
Include part-time, seasonal, or

self-employed work.

Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer’s name

 

 

 

 

 

Employer's address

Number Street Number Street

City State ZIP Code City State ZIP Code
How long employed there? since 06/18 since 06/18

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
Spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 14 For Debtor 2 or
non-filing spouse

' 2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

 

deductions). if not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $

3. Estimate and list monthly overtime pay. 3. +§ 0.00 +s

: 4, Calculate gross income. Add line 2 + line 3. 41 $ 0.00 $
Official Form 1061 Schedule I: Your Income page 1

 
Case 19-24841 Doc1 Filed 11/05/19 Page 40 of 60

Debtor 4 Dewey Monroe Chishoim
First Name Middle Name Last Name

Copy Hine 4 Were... ccccccccscssesssesesececstsstsesssseesessesacsasstvassreanasesucsetseceseses > 4.

_ 5. List all payroll deductions:

Sa. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
Sh. Other deductions. Specify:

 

_ 6. Add the payroll deductions. Add lines 5a + 5b + 5c + Sd + 5e +5f + 5g + Sh.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you reguiarly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify: SSDI
8g. Pension or retirement income

8h. Other monthly Income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in tine 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.

 

Case number (i known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or

-Non-filing spouse _
$ 0.00 $
Sa. § 0.00 $
5b. $ 0.00 $.
5c. $ 0.00 $
Sd. $0005
Se. $ 0.00 $
5f.  $ 0.00 $
5g. 0.00 $
5h. +$ 0.00 +3
6 §6§ 0.00 $
7 = § 0.00 $
sa. 8 0.00 $
8b. § 0.00 $
Bc. 8 0.00 $

sd. $0.00 $

8e. $0.00 $e
sf. $2,400.00. $
8g. § 0.00 $
8h. +5 0.00 +$
9. | ¢ 2,400.00 $

10} $ 2,400.00 $ 0.00 | f 2,400.00

 

 

 

 

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
WW. §$ 0.00 :

Specify: SSDI

_12, Add the amount In the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

, 13.Do you expect an increase or decrease within the year after you file this form?

No.

12.

f__ 2,400.00

Combined
monthly income

 

Ul] Yes. Explain:

 

 

Official Form 1061

 

 

Schedule I: Your income

page 2

 

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 41 of 60

Fill in this information to identify your case:

Debtor’ Dewey Monroe _Chisholm (ast Name Check if this is:

Debtor 2 .
(Spouse, if filing) First Name Middle Name Last Name Q An amended filing

QA supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: District of Maryland

“eo MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. Hf two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Peart +: | Describe Your Household

1. Is this a joint case?

 

 

Wi No. Goto line 2.
C] Yes. Does Debtor 2 live in a separate household?

L) No
( Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? No
Dependent’s relationship to Dependent’s Does dependent live
Do not tist Debtor 1 and (} Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... g
Do not state the dependents’ g No
names. Yes
UI No
O) ves
() No
OC] Yes
LJ No
(} ves
L) No
O Yes
3. Do your expenses Include Ww No

expenses of people other than oO
__. yourself and your dependents? “Yes

  

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

 

 

 

 

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Inciude first mortgage payments and $ 1,200.00
any rent for the ground or fot. 4.
If not included in line 4:
4a. Reai estate taxes 4a. § 0.00
4b. Property, homeowner's, or renter’s insurance 4b, § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
 

Case 19-24841 Doc 1
Debtor 4 Dewey Monroe Chisholm
First Name Middte Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

13.

14,

18.

16.

18.

19.

20.

Official Form 106J

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in tines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

 

Case number (if known),

6a.
6b.
6c.

6d.

10.

11.

12.
13.

14.

15a.
15b.
15¢.

15d.

16.

17a.
17b.
17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

 

20a.

20b.

20c.
20d.
20e.

Filed 11/05/19 Page 42 of 60

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your expenses
§ 0.00
135.00
$ 0.00
$5.00
$ 0.00
$ 150.00
$ 0.00
5 0.00
$ 200.00
$ 40.00
$ 160.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 208.00
$ 0.00
$ 0.00
$ 442.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ Q.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 9.00

 

 
Case 19-24841 Doc1 Filed 11/05/19 Page 43 of 60

Debtor 1 Dewey Monroe Chisholm

First Name Middle Name Last Name

21. Other. Specify: Storage

22, Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (i known),

21.

22a.

22b,

22c.

23a.

23b.

23c.

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

| No.

Cl Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

 

 

+5 145.00

 

 

$ 2,745.00
$ 0.00

$ 2,745.00

 

 

§ 2,400.00

~§ 2,745.00

 

 

$ -345,00

 

 

page 3

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 44 of 60

Fill in this information to identify your case:

Debtor 4 Dewey Monroe Chisholm
First Name Middte Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(if known)

 

Q) Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42116

If two married people are filing together, both are equally responsible for supplying correct Information.

 

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
wf No

Q) Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that I have read the summary and schedules filed with this declaration and
that they are true and correct.

x Dewy QV x

 

 

 

Signature of Debtor J Signature of Debtor 2
44 yy
Date [ C + ? VN Date
MM/ DD 7 YYYY MM/ DD / YYYY
Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 45 of 60

Fill in this information to identify your case: foes ee

Debtor 1 Dewey Monroe Chisholm
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

 

Case number
(If known)

 

(Al Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

() Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No

(J Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
Q Same as Debtor 1 QQ Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
a] Same as Debtor 1 QQ Same as Debtor 1
From From
Number Street Number Street
To ee To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legai equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Q) No
wf Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 406H).

| Part 2: the Sources of Your Income

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1
 

Case 19-24841 Doc1 Filed 11/05/19 Page 46 of 60
Debtor 4 Dewey Monroe Chisholm Case number (known)

 

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the totat amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

CJ No
Wi Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018 )
YYYY

Sources of income
Check ail that apply.

QO Wages, commissions,
bonuses, tips

Q Operating a business
Q Wages, commissions,

bonuses, tips
Operating a business

Q Wages, commissions,

Gross income
(before deductions and
exclusions)

$

Sources of income
Check ail that apply.

Q Wages, commissions,

bonuses, tips
Operating a business

a] Wages, commissions,

bonuses, tips
Q Operating a business

Q Wages, commissions,

For the calendar year before that: .
bonuses, tips

(January 1 to December 31, aw ( operating a business

bonuses, tips
Q Operating a business

5. Did you receive any other income during this year or the two previous calendar years?

 
   

Gross income

(before deductions and
exclusions)

include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits: royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 4.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

CJ No
Wf Yes. Fill in the details.

 
 

Sources of income

Sources of income Gross income from

Describe below. each source Describe below.
(before deductions and
exclusions)

From January 1 of current year until SSDI $___24,000.00_
the date you filed for bankruptcy:

 

 

 

 

 

 

 

 

$
$ et
For last calendar year: SSDI § 16,800.00
(January 1 to December 31,2018 _)
WAY
For the calendar year before that: $

 

 

 

 

(January 1 to December 31,2018 _ )
Wry

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

 

Gross income from
each source

(before deductions and
exclusions)

<~A

 

A

 

CP LF

 

Ri

 

I

page 2

 
Case 19-24841 Doc1 Filed 11/05/19 Page 47 of 60

Debtor Dewey Monroe Chisholm Case number (ir known),
First Name Middle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

 

(J No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
L) No. Go to line 7.

CI Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

 

a Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

L) No. Go to line 7.
wi Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
Westlake Financial 07/14/2019 1,326.00 ¢ 11,262.00, Go rtgage
Creditor's Name ws
Ci
4751 Wilshire Blvd. 08/14/2019 “
Number Street Cd Credit card
Suite 100 09/14/2019 C1 Loan repayment

 

Q Suppliers or vendors

Los Angeles CA 90010

 

 

 

 

City State ZIP Code C2 other
$ $ Q Mortgage
Creditor’s Name
Q Car
Number Street O Credit card

C) Loan repayment

 

C) Suppliers or vendors

 

 

 

 

 

 

City State ZIP Code (I other
§ § ] Mortgage

Creditors Name

O) car
Number Street 2 credit card

QO Loan repayment

Q Suppliers or vendors
City State ZIP Code CI other

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
Debtor 4 Dewey Monroe

First Name

Case 19-24841

Doc 1

Chisholm

Last Name

Filed 11/05/19 Page 48 of 60

Case number (i known)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wf No

CQ Yes. List all payments to an insider.

 

Insider's Name

 

 

Number Street

 

 

City

Dates of Total amount Amount you still. Reason for this payment
payment paid owe
$ $.
State ZIP Code
$ $

 

insider's Name

 

Number Street

 

 

City

State ZIP Code

i

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

Wf No

C] Yes. List all payments that benefited an insider.

 

 

 

 

 

Dates of Total amount Amount you still. Reason for this payment
payment paid owe Include creditorsname
insider's Name be $
Number Street
City State ZIP Code
$ $

 

insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Filed 11/05/19 Page 49 of 60

Case number (i known),

 

Case 19-24841 Doc 1
Debtor 4 Dewey Monroe Chisholm
First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

W No

CJ Yes. Fill in the details.

Nature of the case

Case title

 

Case number

Case title

 

Case number

 

 

 

 

 

 

Court or agency Status of the case

Court Name Q Pending

7 On appeal
‘Number Street CJ concuded
City State ZIP Code
: Court Name Ql Pending

C3 on appeal
‘Number Street C] concluded
‘City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

Check all that apply and fill in the details below.

Wf No. Go totine 11.
(J Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

Describe the property Date Vaiue of the property
Creditors Name $
Number Street Explain what happened
C) Property was repossessed.
CJ Property was foreclosed.
U) Property was gamished.
City State ZIP Code Q) Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditor’s Name
Number Street —
Explain what happened
C) Property was repossessed.
C) Property was foreclosed.
a So SEG C] Property was gamished.
C] Property was attached, seized, or levied.

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 5

 
Case 19-24841 Doc1 Filed 11/05/19 Page 50 of 60

Debtor1 Dewey Monroe Chisholm Case number (known

First Name Middle Name Last Name

 

11. Within $0 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

CJ) Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name :
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-___ _

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

Wf No
CL] Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

i No

( Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
- $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person oes a _.. the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 
Case 19-24841 Doc1 Filed 11/05/19 Page 51 of 60

Debtor 1 Dewey Monroe Chisholm Case number (known)

First Name Middie Name Last Name

 

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Q No

C] Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity’s Name
$

 

 

Number Street

 

City State ZIP Code

eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W@ No

C} Yes. Fill in the details.

Describe the property you lost and Describe any Insurance coverage for the loss Date of your Value of property

how the loss occurred . cae — loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

W No

CI} Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
Person Who Was Paid cane os oe dons, “ade
Number Street : : $
$

 

 

City State ZIP Code

 

Ernail or website address

 

Person Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 
Case 19-24841 Doc1 Filed 11/05/19 Page 52 of 60

 

 

 

 

 

 

 

 

Debtor 1 Dewey Monroe Chisholm Case number (known),
Fiest Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

W No

C) Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
. _ made
Person Who Was Paid
Number Street ‘ ' $
$
City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
No
CQ Yes. Fill in the details.

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made
Person Who Received Transfer
Number Street
City State ZIP Code

 

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZiP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 53 of 60

Debtor 4 Dewey Monroe Chisholm Case number (known)
First Name Middie Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Wi No

C} Yes. Fill in the details.

 

Description and value of the property transferred Date transfer
_ was made

Name of trust

 

 

 

a List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W@ No
CQ Yes. Fill in the details.
Last 4 digits of account number —_— Type of account or Date account was Last balance before

instrument closed, sold, moved, _ closing or transfer
or transferred

 

Name of Financial Institution
XXXX— QO) checking $

 

Number Street CI savings
Q Money market

Q Brokerage
City State ZIP Code O) other

 

 

XXXX= Q Checking $

QO Savings

 

Name of Financial Institution

 

Number Street a Money market
OQ Brokerage
a Other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 4 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
Wi No
C2 Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
soos eure nn _.. have it?
‘QI No
Name of Financial Institution Name 'O) Yes
Number Street Number Street
City State ZIP Code

 

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
Case 19-24841 Doc1 Filed 11/05/19 Page 54 of 60

Debtor? Dewey Monroe Chisholm Case number (tinown)

First Name Middle Name Last Name

 

 

22. Have you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?
C No
il Yes. Fill in the details.

 

 

 

 

Who eise has or had access to it? Describe the contents Do you still
Security Public Storage ‘Household Goods No
Name of Storage Facility Name wi Yes
3500 Pulaski Highway
Number Street Number Street
21224
. CityState ZIP Code
Baltimore MD 21224
City State ZIP Code

Part 9: Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
CQ) Yes. Fill in the details.

 

 

 

 

 

 

 

Where is the property? Describe the property Value
‘Household Goods
Owner's Name : $
ber Street
Number Street
City State ZIP Code
Clty State ZIP Code

 

Beusiiae Give Detalie About Environmental information

 

For the purpose of Part 10, the following definitions apply:

= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentiaily liable under or in violation of an environmental law?

Wi no

CI Yes. Fill in the details.

 

 

 

 

Governmental unit _Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street .
City State ZIP Code
Clty State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 55 of 60

Debtor 4 Dewey Monroe Chisholm Case number (if known)

First Name Middie Name Last Name

 

26. Have you notified any governmental unit of any release of hazardous material?

Wi No

Cl Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
: i
| |
Name of site Governmental unit i
| }
Number Street Number Street |
|
City State ZIP Code |

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

 

Court or agency Nature of the case Status of the
Case title
Court Name QO Pending
QO On appeal
Number Q Concluded
Case number City FP Code

| Part 11: | Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Q) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C] A member of a limited liability company (LLC) or limited liability partnership (LLP)
C) A partner in a partnership
(2 An officer, director, or managing executive of a corporation

 

C An owner of at least 5% of the voting or equity securities of a corporation

| No. None of the above applies. Go to Part 12.
Q] Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

 

 

 

EIN;
countant or bookkeeper Dates business existed
_ From To
Clty State ZIP Code

 

Describe the nature of the business Employer Identification number
_ Do not include Social Security number or ITIN.

 

Business Name

 

 

 

 

 

BIN;
Number Street
Name of accountant or bookkeeper Dates business existed
: From To
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
Case 19-24841 Doc1 Filed 11/05/19 Page 56 of 60

Debtort Dewey Monroe Chisholm Case number (itknown)
Firet Name Middle Name Last Name

 

Employer Identification number

Describe the nature of the business
vosnssnneesnnie tee apes setae ie pee _ Do not include Social Security number or ITIN.

 

Business Name

 

 

 

 

 

EIN we
Number Street Name of accountant or bookkeeper Dates business existed
| From To
City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

C) No
C) Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

>

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

¥ Do «
Signature of D¢btor 1 Signature of Debtor 2
’ . Ce _ O
Date f 0 3 | } \ 4 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

WW No
) Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wi No

CJ Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
 

Case 19-24841 Doc1 Filed 11/05/19 Page 57 of 60

United States Bankruptcy Court
District of Maryland

In Re: Dewey Monroe Chisholm Case Number:

Debtor(s) Chapter: 7

 

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.
Loe oY \
Signature of Debtor(s): ‘ s/ oy
S

Date: WD ha- Jo i4

PH 2:37

~5

 

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ey
erhay

 
 

Case 19-24841 Doc1 Filed 11/05/19

Alan Oshinky / Ileana Showalter
301 St. Paul Street, Suite 612
Baltimore, MD 21202

American Coradius International LLC
2420 Sweet Home Rd., Suite 150
Amherst, NY 14228-2244

Asset Management / Nationwide
345 Inman Street
Cleveland, TN 37311

Bank of America
P. O. Box 982235
El Paso, TX 79998-2235

Bay Country Consumer Finance
6619 Ritchie Highway
Glen Burnie, MD 21061

Bloom & Associates, P.A.
P. O. Box 42826
Baltimore, MD 21284

Capital One Bank
P. O. Box 85015
Richmond, VA 23285-5075

Cashnet USA
175 W. Jackson Blvd., 10" Floor
Chicago, IL 60604

Cavalry SPV I, LLC
500 Summit Lake Drive, Suite 4A
Valhalla, NY 10595

CCS
P. O. Box 607
Norwood, MA 02062-0607

Central Credit Services LLC
20 Corporate Hills Drive
St. Charles, MO 63301

Page 58 of 60

 
Case 19-24841 Doc1 Filed 11/05/19

City of Baltimore

Bureau of Revenue Collections
200 Holliday Street

Baltimore, MD 21202

Comcast
8110 Corporate Blvd.
Nottingham, MD 21236

Comptroller of Maryland

110 Carroll Street

Revenue Administration Division
Annapolis, MD 21411

Convergent Outsourcing Inc.
P. O. Box 9004
Renton, WA 98067

Emergency Physicians SPPS
P. O. Box 38034
Philadelphia, Pa 19101-8034

ERC
P. O. Box 57610
Jacksonville, FL 32241

FBCS Inc.
330 S. Warminster Rd., Suite 353
Hatboro, PA 19040

GEICO
One Geico Plaza
Bethesda, MD 20810

Johns Hopkins Medicine
3910 Keswick Road, Suite S-5100
Baltimore, MD 21211

Kaiser Permanente
Patient Financial Services
P. O. Box 31218

Tampa, FL 33631-3218

Mercy Medical Center
301 St. Paul Place
Baltimore, MD 21202

 

 

Page 59 of 60

 
Case 19-24841 Doc1 Filed 11/05/19

Mercy Medical Center
P. O. Box 826986
Philadelphia, PA 19182-6986

Motor Vehicle Administration
6601 Ritchie Highway, N.E.
Glen Burnie, MD 21061

NCC
5503 Cherokee Ave.
Alexandria, VA 22312-2307

OneMain Financial
P. O. Box 3327
Evansville, IN 47732-3327

Patient First
P. O. Box 758941
Baltimore, MD 21275-8941

Progressive Leasing
256 W. Data Drive
Draper, UT 84020

Southwest Credit
4120 International Parkway, Suite 1100
Carrollton, TX 75007-1958

Teamsters Local 355 Union Hall
1030 S. Dukeland Street
Baltimore, MD 21223

USCB America
355 S. Grand Ave., Suite 3200, Box 306
Los Angeles, CA 90071-1591

Wells Fargo Bank

Credit Bureau Dispute Resolution
P. O. Box 14517

Des Moines, IA 50306

Westlake Service Inc.
4751 Wilshire Blvd., Suite 100
Los Angeles, CA 90010

 

 

Page 60 of 60

 
